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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE


  THOMSON REUTERS ENTERPRISE
  CENTRE GMBH and WEST PUBLISH-
  ING CORP.,

                     Plaintiffs,
                                                      No. 1:20-cv-613-SB
               v.

  ROSS INTELLIGENCE INC.,

                     Defendant.


                                       ORDER

     For the reasons given in the accompanying opinion,

     1. I GRANT IN PART Plaintiffs’ Motion for Partial Summary Judgment on
        Direct Copyright Infringement and Related Defenses (D.I. 674).

     2. I GRANT Plaintiffs’ Motion for Partial Summary Judgment on Fair Use (D.I.
        672).

     3. I DENY Defendants’ Motion for Summary Judgment on its Affirmative Defense
        of Fair Use (D.I. 676).

     4. I DENY Defendants’ Motion for Summary Judgment as to Plaintiffs’ Copyright
        Claims (D.I. 683).



  Dated: February 11, 2025                   ___________________________________
                                             UNITED STATES CIRCUIT JUDGE
